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IN THE UNITED STATES DISTRICT COURT. tERN DISTRICT OF TEX
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION YUL 10 2006
BEVERLY SCHELSTEDER and § MICHAEL 8. MILBY, CLERK OF coup:
KENNETH SCHELSTEDER, §
Plaintiffs §
§
VS. §  C.A.NO.: H-05-0941
§ JURY DEMANDED
§
MONTGOMERY COUNTY, TEXAS §
ET AL., $
Defendants. §

PLAINTIFFS’ STIPULATION OF DISMISSAL
TO THE HONORABLE JUDGE OF THE DISTRICT COURT:
Come now Plaintiffs, KENNETH AND BEVERLY SCHELSTEDER, and file this
Notice of Dismissal pursuant to FRCP 41(a)(1).
1. Plaintiffs are Beverly and Kenneth Schelsteder; defendants are Montgomery
County, Guy Williams, Ray Zavadil, and Ricky Staggs.

2. Plaintiffs filed this suit on March 16, 2005.

3. Plaintiffs now move to dismiss this suit.

4. Defendants, who have answered, agree to the dismissal.

5. This case is not a class action.

6. A receiver has not been appointed in this action.

7. This case is not governed by any federal statute that requires an order of the

court for dismissal of this case.
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8. Plaintiffs have previously dismissed an action based on or including the same
claims as those presented in this suit.

9. This dismissal is with prejudice.

Respectfully submitted,

MATT FREEMAN & ASSOCIATES

By: Dab ealio

D. Matthew(¥eeman

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing document has
been sent to all known counsel by first class mail, facsimile, hand delivery and/or certified
mail, return receipt requested on July 6, 2006.

Sara M. Forlano

County Attorney, Montgomery County
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Conroe, Texas 77301

Via Facsimile: (936) 760-6920

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